Case 6:15-cv-06676-DGL-MWP Document 83 Filed 06/20/19 Page 1 of 3

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ANDRE MURPHY, SIXTH AMENDED
SCHEDULING ORDER
Plaintiff,
15-CV-6676L
Vv.

C.0. NOWICKI, et al.,

Defendants.

Further to a status conference having been held with this Court on June 19, 2019,
and counsel for the parties having requested an extension of the deadlines contained in this
Court’s March 29, 2019 Fifth Amended Scheduling Order (Docket # 82), and good cause having

been shown, it is

ORDERED that:

1. All fact depositions shall be completed by no later than September 13,
2019.

2, Plaintiff shall identify any expert witnesses who may be used at trial

pursuant to Fed. R. Civ. P. 26(a)(2)(A) and provide reports pursuant to Rule 26(a)(2)(B) and/or
disclosures pursuant to Rule 26(a)(2)(C) by October 11, 2019. Defendants shall identify any
expert witnesses who may be used at trial and provide reports pursuant to Fed. R. Civ. P. 26 by
November 12, 2019.

3. All expert depositions shall be completed by no later than January 13,

2020.
Case 6:15-cv-06676-DGL-MWP Document 83 Filed 06/20/19 Page 2 of 3

4. All discovery in this case shall conclude on February 10, 2020. All
motions to compel discovery shall be made returnable on or before March 12, 2020.

5. Dispositive motions, if any, shall be filed no later than April 13, 2020.
Unless a consent to proceed before this Court has been filed, such motions shall be made
returnable before Judge Larimer.

6, Responding papers are due by May 11, 2020. Reply papers, if any, shall
be filed by May 26, 2020. The motion will be taken under advisement without oral argument.

7. A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and

Local Rule 16 will be held, if necessary, at a date and time to be determined by the trial judge
after determination of dispositive motions. If no dispositive motions are filed, counsel shall
immediately contact the trial judge so that a trial date status conference can be scheduled.

At least seven (7) days prior to the trial date status conference, the parties
shail file a joint case status report setting forth the information described below. If the parties
disagree as to the information to be provided, the report must set forth their different responses.
The joint status report shall contain:

(1) Nature of the Case: Set forth a brief description of the action,

identifying the parties, all counsel of record, the relief requested,
any affirmative defenses and any relationship the case may have to
other pending actions.

(2) Motion Practice: Are any motions, dispositive or non-dispositive,

pending? If so, briefly describe the motion. Explain if additional

motion practice is necessary before the matter is ready to be tried.
Case 6:15-cv-06676-DGL-MWP Document 83 Filed 06/20/19 Page 3 of 3

(3) Settlement: Describe the status of settlement negotiations. Ifthe
parties believe a court supervised settlement/mediation conference
would be of assistance in resolving the case or narrowing disputed
issues, please state.

(4) Trial: State whether the case is ready for trial. If not, explain why.
Set forth an estimate of how long the trial will take and whether the
case is jury or non-jury.

No extension of the above cutoff dates will be granted except upon written

application, made prior to the cutoff date, showing good cause for the extension. Application for

extensions should be made to the Magistrate Judge. Joint or unopposed requests to extend the
deadlines set forth in this order need not be made by formal motion, but rather may be sought in a
letter to the court. Letter requests must detail good cause for the extension and propose new
deadlines.
IT IS SO ORDERED.

Metian ure

MARIAN W. PAYSON
United States Magistrate Judge

Dated: Rochester, New York
June 20 _, 2019
